                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

                                                   )
                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )    Civil Action No. 13-cv-06326 (WHP)
       v.                                          )
                                                   )
PREVEZON HOLDINGS LTD., et al.,
                                                   )
                                                   )
                     Defendants.
                                                   )

     NOTICE OF NON-PARTY HERMITAGE CAPITAL MANAGEMENT LTD.’S
                    MOTION FOR ATTORNEYS’ FEES

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Non-Party Hermitage Capital Management Ltd.’s Motion for Attorneys’ Fees, the Declaration

of Jacob W. Buchdahl and exhibits thereto, Non-Party Hermitage Capital Management Ltd.

hereby moves the Court for an Order awarding it attorneys’ fees from Baker & Hostetler LLP in

the amount of $1,413,933.61.


Dated: New York, New York
       May 16, 2017

                                          Respectfully submitted,

                                          SUSMAN GODFREY L.L.P.

                                   By:    /s/ Jacob W. Buchdahl
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                                          Counsel for Hermitage Capital Management Ltd
                                CERTIFICATE OF SERVICE

               The undersigned hereby certifies that on the 16th day of May, 2017, this document

was properly served on all counsel of record via electronic filing in accordance with the SDNY

Procedures for Electronic Filing.


                                                   /s/ Jacob W. Buchdahl
                                                   Jacob W. Buchdahl
